                       UNITED STATES DISTRICT COURT
                    MIDDLE DISTRICT OF NORTH CAROLINA


 FARHAD AZIMA,

                              Plaintiff,
                                                        No. 1:20-cv-00954-WO-JLW
                      v.

 NICHOLAS DEL ROSSO and VITAL
 MANAGEMENT SERVICES, INC.,

                            Defendants.



     MEMORANDUM OF LAW IN SUPPORT OF NON-PARTY DECHERT LLP’S
       MOTION TO QUASH PLAINTIFF’S SUBPOENA TO TESTIFY AT A
                   DEPOSITION IN A CIVIL ACTION

        Non-Party Dechert LLP (“Dechert”), pursuant to Rules 26 and 45 of the Federal

Rules of Civil Procedure and Local Rules 7.3 and 26.1, hereby submits the following

brief in support of its Motion to Quash Plaintiff’s Subpoena to Testify at a Deposition in

a Civil Action dated December 23, 2023 (the “Subpoena”).

I.      Background

        Plaintiff Farhad Azima brought this case against Nicholas Del Rosso and Vital

Management Services based on allegations that Defendants hacked his private

information and released certain of his confidential business data obtained from the

hacking. See Dkt. 1 (Complaint). Plaintiff sought leave to serve third-party subpoenas,

including to Dechert, just one week after filing his Complaint. See Dkt. 7. This Court

denied leave to serve those subpoenas, which it described as “broad in scope,” even in

light of all the claims and allegations then in the case. See Dkt. 30 at 3.




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       Azima originally brought eleven claims arising out of Defendants’ alleged

conduct; this Court significantly narrowed the scope of this action in its December 10,

2021, Memorandum Opinion and Order granting in part and denying in part Defendants’

Motion to Dismiss. See Dkt. 65 at 23–24. The Court held that nine of Plaintiff’s claims

were untimely, and thus the Court dismissed the claims based on the hacking allegations

and allowed only two claims to survive: “a North Carolina misappropriation of trade

secrets claim arising from the 2018–2019 online posting of new links to Plaintiff’s

confidential business data [] and a North Carolina civil conspiracy claim contingent upon

the viability of the trade secrets claim.” Dkt. 80 at 4 (summarizing holding of Dec. 10,

2021, Opinion). In limiting the case to those claims, the Court also found that the only

potentially actionable conduct in this action is that which allegedly occurred in 2018 and

2019, and specifically that which is related to the online release of Plaintiff’s data. See

Dkt. 65 at 23–24. Discovery commenced on November 16, 2022, and is scheduled to

conclude on August 1, 2023. See Dkt. 93 at 1–2.

       Dechert is a global law firm that is not party to this suit. It is, however, party to

several other suits Plaintiff has brought across multiple jurisdictions related to the same

hacking scheme alleged in this case. See RAKIA v. Azima, Case. No. HC-2016-002798

(U.K. High Court of Justice 2016) (the “U.K. Proceeding”); Azima et al. v. Dechert LLP

et al., No. 1:22-cv-08728 (S.D.N.Y. 2022) (the “SDNY Action”). In the SDNY Action,

which Plaintiff filed against eleven defendants on October 13, 2022, the parties submitted

pre-motion letters regarding anticipated motions to dismiss. The Court subsequently sua



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sponte stayed all discovery until the motions are resolved. See SDNY Action, Dkt. 104.

Discovery is ongoing in the U.K. Proceeding.

       Here, Plaintiff served two third-party subpoenas on Dechert in December 2022,

one month after party discovery commenced. The first (the “Documents Subpoena”), to

which Dechert has submitted written responses and objections, requested an extensive set

of documents related to Dechert’s legal work on behalf of clients—namely, the Ras al

Khaimah Investment Authority (“RAKIA”) and other RAK entities—that it represented,

including in multiple litigations, over and beyond the eight-year time period listed in the

instructions. The second is the Subpoena presently at issue, which seeks testimony about

the documents requested in the first subpoena as well as fifteen other topics related to

Dechert’s representation of the same—including a request for testimony about “all

engagements by Dechert of RAKIA or other [related] entities from 2013 to the present.”

See Subpoena at 1–4 (“Topics”). Despite the fact that the Action has been significantly

narrowed since Plaintiff’s first attempt to serve a third-party subpoena on Dechert, the

instant subpoenas are in some ways broader than the one this Court denied leave to serve

in December 2020. See Dkt. 7, Ex. A; Dkt. 30.

       In a letter to Plaintiff’s counsel dated January 12, 2023, Dechert’s counsel

communicated its concerns about the unreasonable scope of the subpoenas, the privilege

and work product issues they present, and the unreasonable burden inherent in imposing

such sweeping discovery obligations on a non-party before meaningful party discovery

has taken place. On January 19, 2023, Plaintiff’s counsel responded that they intended


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to move to compel compliance with both subpoenas. The parties had a meet-and-confer

on January 23, 2023, at which Plaintiff’s counsel refused to engage on any of the

concerns raised by Dechert. Dechert’s counsel submitted written responses and

objections to the Documents Subpoena, accompanied by a letter reiterating the concerns

expressed in the January 12 letter and the meet-and-confer, on January 26, 2023. In a

letter to Dechert’s counsel on Sunday, January 29, 2023, Plaintiff’s counsel again ignored

all of the scope, privilege, and burden issues and indicated its intent to file motions to

compel compliance with both subpoenas if Dechert did not identify documents in

Dechert’s possession and Topics not subject to objections by the next day. On January

31, 2023, Dechert’s counsel informed Plaintiff’s counsel of Dechert’s intent to file the

instant Motion, and Plaintiff’s counsel agreed that the parties had satisfied their meet-

and-confer obligations and that the filing of this Motion would obviate the deposition

pending the Court’s resolution of the issues presented herein. Dechert now moves to

quash the Subpoena.

II.    Legal Standard

       Rule 45 governs subpoenas issued to non-parties and requires that “[a] party or

attorney responsible for issuing and serving a subpoena must take reasonable steps to

avoid imposing undue burden or expense on a person subject to the subpoena.” Fed. R.

Civ. P. 45(d)(1). When such steps are not taken, Rule 45 provides that a court “must

quash or modify a subpoena that . . . subjects a person to undue burden.” Fed. R. Civ. P.

45(d)(3)(A). Rule 26 further allows a court to, “for good cause, issue an order to protect

a party or person from . . . undue burden or expense” by, among other measures,

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“forbidding the disclosure or discovery” or “forbidding inquiry into certain matters, or

limiting the scope of disclosure or discovery to certain matters.” Fed. R. Civ. P. 26(c)(1).

        All civil discovery, “whether sought from parties or nonparties, is limited in scope

by Rule 26(b)(1)” and must be “relevant to any party’s claim or defense” and

“proportional to the needs of the case.” Virginia Dep’t of Corr. v. Jordan, 921 F.3d 180,

188 (4th Cir. 2019) (quoting Fed. R. Civ. P. 26(b)(1)). “When discovery is sought from

nonparties, however, its scope must be limited even more.” Id. at 189. Thus, when

assessing whether a subpoena to a non-party “subjects a person to undue burden” such

that it must be quashed or modified, courts “must give the recipient’s nonparty status

‘special weight’” and conduct an “even more ‘demanding and sensitive’ inquiry” into

“whether the benefits of discovery to the requesting party outweigh the burdens on the

recipient.” Id. (quoting In re Public Offering PLE Antitrust Litig., 427 F.3d 49, 53 (1st

Cir. 2005)). This undue-burden standard applies to Rule 30(b)(6) subpoenas just as it

applies to documents subpoenas. Id. at 193 (citing Watts v. SEC, 482 F.3d 501, 508

(D.C. Cir. 2007)).

III.    Argument

        Plaintiff’s Subpoena is overbroad, unduly burdensome, and not proportionate to

the needs of this Action. It seeks information about Dechert’s legal work without

meaningful subject matter or temporal limitations, let alone limitations reflecting the

narrowed scope of this case; implicates complex issues of privilege that will, at a

minimum, require an extremely burdensome review and preparation process; and


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requests this information from a non-party before Plaintiff has shown (or could even

know) that certain requested information cannot be obtained from the parties to this

action. Any benefit to Plaintiff is thus substantially outweighed by the unreasonable

burden the Subpoena would impose on non-party Dechert. The overbreadth and timing

of the Subpoena, in particular, raise concerns in light of the Court’s sua sponte order

staying discovery in the SDNY Action, where Plaintiff named Dechert as a party, to say

nothing of discovery and evidentiary limitations in the ongoing U.K. Proceeding. In all

events, the Subpoena should be quashed for the following reasons.

              a. The Subpoena is not tethered to the scope of the surviving claims.

       Plaintiff’s Subpoena makes no attempt to limit its topics to conduct “relevant” or

“proportional” to the two claims the Court has permitted to proceed. See Dkt. 65 at 23–

24. As a matter of law, subpoenas are overbroad when they “lack a relevant subject

matter limitation” or “seek information from entities unrelated to the claims and defenses

asserted in [a] case.” Nallapaty v. Nallapati, 2022 WL 1508885, at *5–6 (E.D.N.C. May

12, 2022); Champion Pro Consulting Grp., Inc. v. Impact Sports Football, LLC, 2014

WL 6686727, at *4 (M.D.N.C. Nov. 26, 2014) (“A subpoena is overbroad if it does not

limit the [requests] to subject matter relevant to the claims or defenses.” (citation

omitted)). So, too, when they “seek information outside the relevant time period.”

Nallapaty, 2022 WL 1508885, at *5. Here, Plaintiff’s Subpoena fails on both counts: it

demands testimony about non-party Dechert’s involvement with more than ten

individuals and entities, as well as numerous of their subsidiaries, agents, and affiliates

(in addition to Defendants in this action and Plaintiff himself) without any time limitation

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or indication of how all of that information relates to the online posting of Plaintiff’s data

in 2018 and 2019. See Topics. For example, it seeks testimony about “[a]ny retention,

instruction, and payment” of a number of individuals and entities without any indication

of how this might be related to the trade-secrets misappropriation claims. It is thus

overbroad and should be quashed.

              b. The Subpoena implicates complex issues of privilege.

       The Subpoena seeks this broad swath of information from a law firm, and its

Topics all relate to the firm’s work on behalf of its clients. On their face, the Topics

cover information that is likely to be protected by the attorney-client privilege or the

work-product protection, as they address Dechert’s legal work for a client, its confidential

communications relating thereto, and documents prepared in connection with that work

and/or in anticipation of litigation. For example, among the Topics is testimony related

to “Dechert’s engagement of ‘VMS to assist it in its representation of RAKIA,’” which

clearly implicates Dechert’s representation of a client. Topics, ¶ 10. Even if some of the

underlying documents are not ultimately deemed to be privileged, the process of

reviewing all relevant documents and assessing privilege claims in preparation for a

deposition on topics as broad as those in the Subpoena will be extremely burdensome and

out of proportion with the needs of this case. See Est. of Ungar v. Palestinian Auth., 332

F. App’x 643, 645 (2d Cir. 2009) (affirming quashing of subpoena to law firm that

“asked for essentially every document [the firm] possessed relating to its representation

of [a client]”); cf. In re Application for an Ord. Pursuant to 28 U.S.C. § 1782 to Conduct

Discovery for use in a Foreign Proceeding, 286 F. Supp. 3d 1, 7 (D.D.C. 2017) (“[W]hen

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a discovery request demands production of an attorney’s records in connection with

representation of a client, invocation of the protections of the attorney-client privilege

and work-product doctrine may be effective without requiring a detailed privilege log.

Otherwise, any objection to the scope of a discovery demand would be rendered moot

because interposing that objection would trigger the very burdensome obligation to

prepare a privilege log that the objection would be intended to avoid.”) (collecting cases).

              c. The Subpoena’s requests target a non-party without having
                 attempted to obtain the information from parties to this action.

       The unreasonableness of Plaintiff’s non-party Subpoena is also underscored by

Plaintiff’s timing in issuing it. Discovery in this case is in its early stages. See Dkt. 93.

“In general, there is a preference for parties to obtain discovery from one another before

burdening non-parties with discovery requests.” Soto v. Castlerock Farming & Transp.,

Inc., 282 F.R.D. 492, 505 (E.D. Cal. 2012) (collecting cases). fYet Plaintiff has offered

no explanation as to why he cannot obtain information he seeks from Defendants

themselves—and if he can obtain information from Defendants, why he is seeking it from

a third party. His request is thus unduly burdensome at this juncture. Id.; see also Genus

Lifesciences Inc. v. Lannett Co., Inc., 2019 WL 7313047, at *4 (N.D. Cal. Dec. 30, 2019)

(granting motion to quash subpoena that imposed undue burden because plaintiff did not

attempt to obtain the requested documents from defendant before seeking them from third

party); Torre v. Charter Commc’ns, Inc., 2020 WL 7705940, at *1 (S.D.N.Y. Dec. 28,

2020) (quashing third-party subpoena that sought information “that could and should be

obtained from . . . a party to this action,” noting that mere “speculation” that a party may


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not produce the documents “is not a basis to look first to a non-party”). In the meet-and-

confer process, Plaintiff refused to address this issue at all, even after we quoted and cited

Fourth Circuit authority making clear Plaintiff should be required to “explain why [he]

cannot obtain the same information, or comparable information that would also satisfy

[his] needs, from one of the parties in the litigation.” Jordan, 921 F.3d at 189.

Ultimately, as discovery proceeds Plaintiff should be required to tailor any further request

to Dechert to reflect what he has obtained from Defendants and the limited scope of the

case that remains. Id. at 190 (“A nonparty should not have to do the work of tailoring a

subpoena to what the requesting party needs; the requesting party should have done that

before serving it.”).

IV.    Conclusion

       For the foregoing reasons, Dechert respectfully requests that the Court quash the

Subpoena, or enter a protective order commanding the same.

       Respectfully submitted this 31st day of January 2023.

 Dated: January 31, 2023
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                             CERTIFICATE OF SERVICE

I hereby certify that on this 31st day of January, 2023, I caused a copy of the foregoing

document to be served via e-mail through the Court’s ECF notification system upon the

following:

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                         WORD COUNT CERTIFICATION

      Pursuant to Local Rule 7.3(d)(1), I hereby certify, subject to Fed. R. Civ. P. 11,

that this brief contains 2,318 words, according to the word count feature of the word

processing system used to prepare the brief. Accordingly, the brief does not exceed the

6,250-word limitation.

      Respectfully submitted this 31st day of January, 2023.




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                       LOCAL RULE 37.1(a) CERTIFICATION

Pursuant to Local Rule 37.1(a), I hereby certify, subject to Fed. R. Civ. P. 11, and as set

out more fully in this Memorandum of Law, that the Parties met and conferred on this

issue through multiple email and letter exchanges as well as a teleconference on January

23, 2023, that was attended by Joseph Rillotta and Ian Herbert on behalf of Plaintiff and

John Quinn and David Gopstein on behalf of Dechert, and that after personal consultation

and diligent attempts to resolve differences, the parties are unable to reach an accord

regarding Plaintiff’s subpoena to Dechert LLP.

       Respectfully submitted this 31st day of January, 2023.




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